                          UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF NEW MEXICO

In re: VAUGHAN COMPANY, REALTORS,                                       Case No. 10-10759

         Debtor.


JUDITH A. WAGNER, Chapter 11 Trustee
Of the bankruptcy estate of the Vaughan Company,
Realtors,

         Plaintiff,

v.                                                                      Adv. No. 12-1004

DEREK PINTADO and
BRETT PINTADO,

         Defendants.


               PARTIAL SUMMARY JUDGMENT IN FAVOR OF PLAINTIFF

         IN ACCORDANCE with the Court’s Memorandum entered herewith,

         IT IS HEREBY ORDERED, ADJUDGED, AND DECREED:

         1.      The Trustee’s Motion for Summary Judgment (Docket No. 45) is GRANTED.

         2.      A money judgment in the total amount of $78,356.24 - plus post-judgment

interest from the date of entry of this Judgment at the federal judgment rate - is entered in favor

of the Trustee and against Defendants Derek Pintado and Brett Pintado on Count 3 (Fraudulent

transfer under 11 U.S.C. §§ 548(a)(1)(B) and 550) and Count 5 (Fraudulent transfer under 11

U.S.C. §§ 544(b) and 550 and N.M.S.A. 1978 § 56-10-18(A)(2)) of the Trustee’s Complaint.



                                                              ______________________________
                                                              ROBERT H. JACOBVITZ
                                                              United States Bankruptcy Judge




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Entered on: March 13, 2014

COPY TO:

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